     Case 1:04-cr-00155-TWP-MJD                               Document 10                      Filed 06/05/15        Page 1 of 1 PageID #: 38
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                 Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                                     for the
                                                             Southern District
                                                           __________ District of
                                                                               ofIndiana
                                                                                  __________

                    United States of America
                               v.                                                      )
                            Rogelio Avila                                              )
                                                                                       )   Case No: 1:04CR00155-004
                                                                                       )   USM No: 08045-028
Date of Original Judgment:                                 12/19/2006                  )
Date of Previous Amended Judgment:                                                     )   Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                                 Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   150                     months is reduced to 120 months*                          .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                   12/19/2006          shall remain in effect.
IT IS SO ORDERED.
                             6/5/2015
Order Date:
                                                                                                              Judge’s signature


Effective Date:              11/01/2015                                              The Honorable Tanya Walton Pratt, U.S. District Court Judge
                     (if different from order date)                                                         Printed name and title
                                                      A CERTIFIED TRUE COPY
                                                      Laura A. Briggs, Clerk
                                                      U.S. District Court
                                                      Southern District of Indiana

                                                      By
                                                                            Deputy Clerk
